EXHIBIT 2
                                       Shareholder Register - Standard Format by Fund
As of: 05/04/2020                                        User-Defined Record Selection Criteria


                    Account Type(s)                                     Account Status(s)

ALL                                                               A


      SocialCode(s)                   Broker/Dealer(s)                       Branch(es)                 Representative(s)

ALL                         ALL                                   ALL                             ALL




          Fund(s)


ALL
                                                                                       Shareholder Register - Standard Format by Fund
 As of: 05/04/2020
                                                                                    Link Motion Inc. - Class A Common Shares - Base Currency: USD

Investor ID:    10286                           Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                Abali Corp.                                                                                                             Not Assigned, Not Assigned, None




Account                 Designation    Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares          Total Shares           % of Tot. Shares            NAV / Share         Cash Bal.         Market Value

661944A 10286                                           Corporation   Other                         2                        2                  0.00%                      1                 0.00                2.00

Investor ID:    8696                            Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                China Mobile Communications Industry Investment Limited                                                                 Not Assigned, Not Assigned, None




Account                 Designation    Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares          Total Shares           % of Tot. Shares            NAV / Share         Cash Bal.         Market Value

661944A 8696                                            Corporation   Other                         2                        2                  0.00%                      1                 0.00                2.00

Investor ID:    1011                            Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                Deutsche Bank Trust Company Americas                                                                                    Not Assigned, Not Assigned, None
                Deutsche Bank Trust Company Americas
                60 Wall Street, New York
                New York 10005
                USA
                Attention: ADR Department
Account                 Designation    Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares          Total Shares           % of Tot. Shares            NAV / Share         Cash Bal.         Market Value

661944A 1011                                            Corporation   Other                         0               438,043,750                88.50%                      1                 0.00      438,043,750.00

Investor ID:    11281                           Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                Double Rise Investments Limited                                                                                         Not Assigned, Not Assigned, None




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                                                                                     Shareholder Register - Standard Format by Fund
 As of: 05/04/2020
                                                                                  Link Motion Inc. - Class A Common Shares - Base Currency: USD



Account                Designation   Status           Acct.Type     Soc.
                                                                    Soc.
                                                                    Soc.Code
                                                                         Code
                                                                         Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 11281                                         Corporation   Other                         3                       3                  0.00%                      1                 0.00               3.00

Investor ID:    9251                          Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                Broker:
                Feiliu Mobile Inc.                                                                                                   Not Assigned, Not Assigned, None




Account                Designation   Status           Acct.Type     Soc.
                                                                    Soc.
                                                                    Soc.Code
                                                                         Code
                                                                         Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 9251                                          Corporation   Other                         4                       4                  0.00%                      1                 0.00               4.00

Investor ID:    10001                         Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                Broker:
                FINE ACE LIMITED                                                                                                     Not Assigned, Not Assigned, None




Account                Designation   Status           Acct.Type     Soc.
                                                                    Soc.
                                                                    Soc.Code
                                                                         Code
                                                                         Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 10001                                         Corporation   Other                         3                       3                  0.00%                      1                 0.00               3.00

Investor ID:    9986                          Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                Broker:
                FORTUNE NETWORK LIMITED                                                                                              Not Assigned, Not Assigned, None




Account                Designation   Status           Acct.Type     Soc.
                                                                    Soc.
                                                                    Soc.Code
                                                                         Code
                                                                         Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 9986                                          Corporation   Other                         2               10,000,002                 2.02%                      1                 0.00      10,000,002.00




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                                                                                         Shareholder Register - Standard Format by Fund
 As of: 05/04/2020
                                                                                      Link Motion Inc. - Class A Common Shares - Base Currency: USD

Investor ID:    8811                              Group Desc.:                                                   Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                Gather Benefit Holdings Limited                                                                                           Not Assigned, Not Assigned, None




Account                Designation     Status             Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares           Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 8811                                              Corporation   Other                  1,940,636                1,940,636                 0.39%                      1                 0.00       1,940,636.00

Investor ID:    10201                             Group Desc.:                                                   Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                Loneranger International Limited                                                                                          Not Assigned, Not Assigned, None




Account                Designation     Status             Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares           Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 10201                                             Corporation   Other                         2                        2                  0.00%                      1                 0.00               2.00

Investor ID:    7611                              Group Desc.:                                                   Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                RPL Holdings Limited                                                                                                      Not Assigned, Not Assigned, None




Account                Designation     Status             Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares           Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 7611                                              Corporation   Other                         0                45,000,000                 9.09%                      1                 0.00      45,000,000.00

Investor ID:    10696                             Group Desc.:                                                   Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                Shenzhen Chinaxyl Mobile Connection Technology Co., Ltd                                                                   Not Assigned, Not Assigned, None




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                                                                                       Shareholder Register - Standard Format by Fund
 As of: 05/04/2020
                                                                                    Link Motion Inc. - Class A Common Shares - Base Currency: USD


Account                Designation     Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares             Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 10696                                           Corporation   Other                            1                        1                 0.00%                      1                 0.00               1.00

Investor ID:    9487                            Group Desc.:                                                     Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                Top King Technology Ltd.                                                                                                  Not Assigned, Not Assigned, None




Account                Designation     Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares             Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 9487                                            Corporation   Other                            3                        3                 0.00%                      1                 0.00               3.00

Investor ID:    10006                           Group Desc.:                                                     Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                VISION UNICORN LIMITED                                                                                                    Not Assigned, Not Assigned, None




Account                Designation     Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares             Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 10006                                           Corporation   Other                            1                        1                 0.00%                      1                 0.00               1.00

Investor ID:    10086                           Group Desc.:                                                     Cust. Class. Codes :

Investor:                                                                                                                   Broker:
                WINSHINE BUSINESS GROUP INC.                                                                                              Not Assigned, Not Assigned, None




Account                Designation     Status           Acct.Type     Soc.
                                                                      Soc.
                                                                      Soc.Code
                                                                           Code
                                                                           Code           Book Shares             Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944A 10086                                           Corporation   Other                            3                        3                 0.00%                      1                 0.00               3.00


Link Motion Inc. - Class A Common Shares                                                      1,940,662           494,984,412                  100.00%                                         0.00      494,984,412.00

                                                                                        14 Record(s)




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                                                                                      Link Motion Inc. - Class B Common Shares - Base Currency: USD

Investor ID:                                      Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               Banean Holdings Ltd.                                                                                                      Not Assigned, Not Assigned, None




Account               Designation        Status           Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7622                                              Corporation   Other                         3                      3                   0.00%                      1                 0.00              3.00

Investor ID:   7627                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               C2C INTERNATIONAL LIMITED                                                                                                 Not Assigned, Not Assigned, None




Account               Designation        Status           Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7627                                              Corporation   Other                         4                      4                   0.00%                      1                 0.00              4.00

Investor ID:   7618                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               Ceyuan Ventures Advisors Fund, LLC                                                                                        Not Assigned, Not Assigned, None




Account               Designation        Status           Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7618                                              Corporation   Other                         1                      1                   0.00%                      1                 0.00              1.00

Investor ID:   7617                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               Ceyuan Ventures I, L.P.                                                                                                   Not Assigned, Not Assigned, None




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                                                                                       Link Motion Inc. - Class B Common Shares - Base Currency: USD



Account                Designation       Status            Acct.Type     Soc.
                                                                         Soc.
                                                                         Soc.Code
                                                                              Code
                                                                              Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7617                                               Corporation   Other                         1                       1                  0.00%                      1                 0.00               1.00

Investor ID:    37636                              Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                China AI Capital Limited *50% Full paid; 50% Nil paid                                                                     Not Assigned, Not Assigned, None
                China AI Capital Limited *50% Full paid; 50% Nil paid
                Vistra Corporate Services Centre, Wickhams Cay II, Road Town,
                Tortola, VG1110
                British Virgin Islands
Account                Designation       Status            Acct.Type     Soc.
                                                                         Soc.
                                                                         Soc.Code
                                                                              Code
                                                                              Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 37636                                              Corporation   Other                         0               70,175,439                92.91%                      1                 0.00      70,175,439.00

Investor ID:    6162                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                Fidelity Asia Principals Fund L.P.                                                                                        Not Assigned, Not Assigned, None




Account                Designation       Status            Acct.Type     Soc.
                                                                         Soc.
                                                                         Soc.Code
                                                                              Code
                                                                              Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 6162                                               Corporation   Other                         2                       2                  0.00%                      1                 0.00               2.00

Investor ID:    6161                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                     Broker:
                Fidelity Asia Ventures Fund L.P.                                                                                          Not Assigned, Not Assigned, None




Account                Designation       Status            Acct.Type     Soc.
                                                                         Soc.
                                                                         Soc.Code
                                                                              Code
                                                                              Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 6161                                               Corporation   Other                         2                       2                  0.00%                      1                 0.00               2.00




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                                                                                      Link Motion Inc. - Class B Common Shares - Base Currency: USD

Investor ID:   7613                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               GSR Associates II, L.P.                                                                                                   Not Assigned, Not Assigned, None




Account               Designation        Status           Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7613                                              Corporation   Other                         4                      4                   0.00%                      1                 0.00              4.00

Investor ID:   7621                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               H.T.C. (B.V.I.) CORP                                                                                                      Not Assigned, Not Assigned, None




Account               Designation        Status           Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7621                                              Corporation   Other                         3                      3                   0.00%                      1                 0.00              3.00

Investor ID:                                      Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               JOINTLINK ENTERPRISES LIMITED                                                                                             Not Assigned, Not Assigned, None




Account               Designation        Status           Acct.Type     Soc.
                                                                        Soc.
                                                                        Soc.Code
                                                                             Code
                                                                             Code           Book Shares          Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7626                                              Corporation   Other                         4                      4                   0.00%                      1                 0.00              4.00

Investor ID:   7620                               Group Desc.:                                                  Cust. Class. Codes :

Investor:                                                                                                                  Broker:
               Pacific Growth Ventures, L.P.                                                                                             Not Assigned, Not Assigned, None




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                                                                                   Link Motion Inc. - Class B Common Shares - Base Currency: USD




                          ,
Account               Designation     Status           Acct.Type     Soc.
                                                                     Soc.
                                                                     Soc.Code
                                                                          Code
                                                                          Code           Book Shares              Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7620                                           Corporation   Other                             0                        3                 0.00%                      1                 0.00              3.00

Investor ID:   7611                            Group Desc.:                                                      Cust. Class. Codes :

Investor:                                                                                                                    Broker:
               RPL Holdings Limited                                                                                                       Not Assigned, Not Assigned, None




Account               Designation     Status           Acct.Type     Soc.
                                                                     Soc.
                                                                     Soc.Code
                                                                          Code
                                                                          Code           Book Shares              Total Shares          % of Tot. Shares            NAV / Share         Cash Bal.        Market Value

661944B 7611                                           Corporation   Other                             0               5,352,941                  7.09%                      1                 0.00      5,352,941.00


Link Motion Inc. - Class B Common Shares                                                              24           75,528,407                  100.00%                                         0.00      75,528,407.00

                                                                                       12 Record(s)




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                                                                     Shareholder Register - Standard Format by Fund
As of: 05/04/2020




                                                                      Book Shares          Total Shares                           Cash Bal.           Market Value
Grand Totals:                              26 Total Records
                                                                        1,940,686          570,512,819                                    0.00        570,512,819.00




                                                                     End of Report




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